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                          JAMES KLOHN, ESQ - 11/05/2018                         ·

     ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
     · · · · · · · · · · MIDDLE DISTRICT OF FLORIDA
     ·2· · · · · · · · · · · ·ORLANDO DIVISION

     ·3· · · · · · · · CASE NO.:· 6:17-CV-01467-RBD-DCI

     ·4

     ·5
     · ·   ·WESTGATE RESORTS, LTD., a Florida
     ·6·   ·limited partnership, by and through
     · ·   ·it's general partner WESTGATE
     ·7·   ·RESORTS, INC., et al,

     ·8· · · · · · · · · · Plaintiffs,

     ·9· · · · · vs.

     10· ·MITCHELL REED SUSSMAN, an individual,
     · · ·and MITCHELL REED SUSSMAN & ASSOCIATES,
     11· ·a Law Firm,

     12· · · · · · · · · · Defendants.
     · · ·______________________________________/
     13

     14
     · · · · · · · ·VIDEOTAPED DEPOSITION OF JAMES KLOHN
     15

     16
     · ·   ·DATE:· · · · · · November 5, 2018
     17
     · ·   ·TIME:· · · · · · 10:19 a.m.
     18
     · ·   ·PLACE:· · · · · ·55 SE Osceola Street, Suite 201
     19·   · · · · · · · · · Stuart, Florida· 34994

     20· ·TAKEN BY:· · · · Plaintiff

     21· ·REPORTER:· · · · ROBIN P. WALKER, CP, a Notary Public of
     · · · · · · · · · · · the State of Florida at Large
     22· ·JOB NO.:· · · · ·501649

     23

     24

     25


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                                                                      Page 2                                                                 Page 3
    ·1·   ·APPEARANCES:                                                              ·1
    ·2·   ·FOR PLAINTIFF:
    ·3·   ·GREENSPOON MARDER, LLP                                                    ·2·   ·AND THEREUPON:
    · ·   ·201 East Pine Street                                                      ·3·   · · · · · ·THE VIDEOGRAPHER:· Now on the video record.
    ·4·   ·Suite 500
    · ·   ·Orlando, Florida· 32801
                                                                                     ·4·   · · · This begins media one of the videotaped deposition
    ·5·   ·BY:· ELIOT NEW, ESQUIRE                                                   ·5·   · · · of James Klohn, Esquire, taken in the matter of
    ·6·   ·FOR DEFENDANT:                                                            ·6·   · · · Westgate Resorts, Limited, et al, versus Mitchell
    ·7·   ·WICKER SMITH O'HARA McCOY & FORD, PA
    · ·   ·390 North Orange Avenue                                                   ·7·   · · · Reed Sussman, et al.· Taken in the U.S. District
    ·8·   ·Suite 1000                                                                ·8·   · · · Court for the Middle District of Florida.· Today's
    · ·   ·Orlando, Florida· 32801
    ·9·   ·BY:· CLAY H. COWARD, ESQUIRE                                              ·9·   · · · date is November 5th, 2018, the time is 10:19 a.m.
    10·   ·Also Present:· Mitchell Reed Sussman, Plaintff                            10·   · · · · · ·The video operator is Jordan Bruce and the
    · ·   · · · · · · · · (Appeared Telephonically)
    11·   · · · · · · · · Jordan M. Bruce, Videographer
                                                                                     11·   · · · court reporter is Robin Walker, both on behalf of
    · ·   · · · · · · · · Bruce Legal Video                                          12·   · · · Epiq Reporting.· This deposition is taking place at
    12
                                                                                     13·   · · · Epiq Reporting located at 55 Southeast Osceola
    13·   · · · · · · · · · · · · ·I N D E X
    14                                                                               14·   · · · Street in Stuart, Florida.
    15·   · · · · · · · · · · · · · · · · ·   ·   ·   ·   ·   ·   ·   ·   ·   PAGE   15·   · · · · · ·Will counsel please announce their appearances
    16·   ·Direct Examination by Mr. New· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·4
    · ·   ·Cross Examination by Mr. Coward·   ·   ·   ·   ·   ·   ·   ·   ·   ·50    16·   · · · and who you represent.
    17·   ·Redirect Examination by Mr. New·   ·   ·   ·   ·   ·   ·   ·   ·   ·53    17·   · · · · · ·MR. NEW:· Eliot New for plaintiffs.
    18
    19·   ·Certificate of Oath· · · · · · · · · · · · · · · ·55                      18·   · · · · · ·MR. COWARD:· This is Clay Coward for the
    · ·   ·Certificate of Reporter· · · · · · · · · · · · · ·56                      19·   · · · defendants Mitchell Sussman and his law firm.
    20
    21·   · · · · · · · · · · · E X H I B I T S
                                                                                     20·   · · · · · ·THE VIDEOGRAPHER:· Will the court reporter
    22·   ·Plaintiff's Exhibit No. 1· · · · · · · · · · · · ·16                      21·   · · · please swear in the witness.
    · ·   ·(Subpoena Duces Tecum)                                                    22·   ·AND THEREUPON:
    23·   ·Plaintiff's Exhibit No. 2· · · · · · · · · · · · ·16
    · ·   ·(Response to Subpoena and attachments)                                    23·   · · · · · ·James Klohn,
    24·   ·Plaintiff's Exhibit No. 3· · · · · · · · · · · · ·38                      24·   ·called as a witness on behalf of the Plaintiff herein,
    · ·   ·(Copy of recorded deeds prepared by Mr. Klohn)
    25                                                                               25·   ·after having been first duly sworn, was examined and
                                                                      Page 4                                                                 Page 5
    ·1·   ·testified as follows:                                                     ·1·   ·doesn't translate very well.
    ·2·   · · · · · ·THE WITNESS:· I do.                                             ·2·   · · · A· · Got it.
    ·3·   · · · · · ·MR. NEW:· Just real quick before we start, I                    ·3·   · · · Q· · We also can't talk at the same time.· You're
    ·4·   · · · think I was told Mr. Sussman is on the phone; is                     ·4·   ·doing a good job of that.· If you'll let me finish asking
    ·5·   · · · that correct?                                                        ·5·   ·my question before you begin answering it, that way we're
    ·6·   · · · · · ·MR. COWARD:· He is on the phone, I believe.                     ·6·   ·not talking at the same time, she can write it all down.
    ·7·   · · · Mr. Sussman, are you on the phone?                                   ·7·   · · · A· · Perfect.
    ·8·   · · · · · ·MR. SUSSMAN:· Yes, I am.                                        ·8·   · · · Q· · I suspect you will be here for a couple of
    ·9·   · · · · · ·MR. COWARD:· He is listening.                                   ·9·   ·hours but I do not think we'll be here all day.· That's
    10·   · · · · · ·MR. NEW:· Is anybody else on the phone?                         10·   ·not my goal, I'd like to get you out of here, but if you
    11·   · · · · · · · · · · DIRECT EXAMINATION                                     11·   ·need a break for any reason, just let us know and we'll
    12·   ·BY MR. NEW:                                                               12·   ·take a break.
    13·   · · · Q· · State your name for the record, please.                         13·   · · · A· · Got it.
    14·   · · · A· · James A. Klohn, K-l-o-h-n.                                      14·   · · · Q· · The most important thing that I want you to
    15·   · · · Q· · Do you go by James or Jim?                                      15·   ·remember about today is if you do not understand my
    16·   · · · A· · Jim is fine.                                                    16·   ·question for any reason, please let me know.· You can ask
    17·   · · · Q· · Have you ever given a deposition before?                        17·   ·me to rephrase.· You can tell me it was a dumb question.
    18·   · · · A· · Yes.                                                            18·   ·You can tell me I don't understand.· However, it is that
    19·   · · · Q· · A few ground rule, hopefully make this go a                     19·   ·you communicate to me you don't understand, I'll ask the
    20·   ·little smoother and a little bit faster even though                       20·   ·question again; can you do that?
    21·   ·you've done it before it tends to help.· Obviously we                     21·   · · · A· · Okay.
    22·   ·have a court reporter here writing down everything that                   22·   · · · Q· · How many times have you given deposition
    23·   ·everybody says, for that reason, you have to answer                       23·   ·testimony in the past?· Approximate is fine.
    24·   ·questions out loud and in English.· No uh-huhs and uh-uhs                 24·   · · · A· · More than one, less than type five.
    25·   ·or head shakes, we all know what you're saying but it                     25·   · · · Q· · What were the nature of those lawsuits where


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                                                            Page 6                                                             Page 7
    ·1·   ·you provided deposition testimony?                          ·1·   · · · A· · 2010.
    ·2·   · · · A· · I believe all of them -- no, that's not true.     ·2·   · · · Q· · Since 2010 up to the present, have you had
    ·3·   ·A couple of them were when I was --                         ·3·   ·other employment beyond or in addition to or separate
    ·4·   · · · · · ·MR. NEW:· You need to put your mic on.            ·4·   ·from your sole proprietorship?
    ·5·   · · · · · ·THE WITNESS:· A couple of them when I was         ·5·   · · · A· · Only 1099 positions.
    ·6·   · · · in-house counsel, and I think they all were when I     ·6·   · · · Q· · And for whom have you had significant 1090
    ·7·   · · · was in-house counsel for various companies.            ·7·   ·positions?
    ·8·   ·BY MR. NEW:                                                 ·8·   · · · · · ·I don't mean like a one-time $500 bill but
    ·9·   · · · Q· · And they all, however many there were related     ·9·   ·ongoing work.
    10·   ·to whatever business it was that you were serving as        10·   · · · A· · Wood Bridge Structured Funding, LLC.
    11·   ·in-house counsel for?                                       11·   · · · Q· · How long have you been doing work for them?
    12·   · · · A· · That's correct.                                   12·   · · · A· · It was around four years, four and a half
    13·   · · · Q· · Let's talk about that briefly.· Right now, are    13·   ·years.
    14·   ·you employed by anyone?                                     14·   · · · Q· · And was that where you were, as you descried,
    15·   · · · A· · I am not.                                         15·   ·in-house counsel?
    16·   · · · Q· · You're self employed?                             16·   · · · A· · That was one of them, yes.
    17·   · · · A· · I'm self-employed.                                17·   · · · Q· · Where else have you been in-house counsel?
    18·   · · · Q· · Do you have a specific entity that is your law    18·   · · · A· · Atlantic Housing Group, L.L.L.P.; Imperial
    19·   ·practice or you just --                                     19·   ·Structured Settlements, LLC, and First Provident, LLC.
    20·   · · · A· · I'm a sole proprietor but it's James A. Klohn     20·   · · · Q· · Were those all since 2010?
    21·   ·and Associates, P.A.                                        21·   · · · A· · No, those are since 2000.
    22·   · · · Q· · Is that located here in Stuart?                   22·   · · · Q· · So the Atlantic Housing, Imperial and First
    23·   · · · A· · Yes.                                              23·   ·Provident all predated your sole proprietorship?
    24·   · · · Q· · And how long have you been operating that sole    24·   · · · A· · That specific entity, yes.
    25·   ·proprietorship?                                             25·   · · · Q· · Did any of those in-house positions, as you
                                                            Page 8                                                             Page 9
    ·1·   ·described them, involve timeshares or any type of work      ·1·   · · · A· · Yes.
    ·2·   ·relating to time shares?                                    ·2·   · · · Q· · Are you licensed in the State of Florida?
    ·3·   · · · A· · No.                                               ·3·   · · · A· · Yes.
    ·4·   · · · Q· · Prior to 2010 and your current sole               ·4·   · · · Q· · Any other licenses?
    ·5·   ·proprietorship, what was your primary employment?           ·5·   · · · A· · No.
    ·6·   · · · A· · I work in the structured settlement and lottery   ·6·   · · · Q· · Approximately when did you get licensed in
    ·7·   ·factoring transfer industry.                                ·7·   ·Florida?
    ·8·   · · · Q· · As a lawyer?                                      ·8·   · · · A· · November, 1998.
    ·9·   · · · A· · Yes.                                              ·9·   · · · Q· · Where did you go to law school?
    10·   · · · Q· · Did you work for a specific company or            10·   · · · A· · Thomas Cooley Law School in Lansing,
    11·   ·companies or were those the ones --                         11·   ·Michigan.
    12·   · · · A· · Those would be the ones.· I take that back,       12·   · · · Q· · Did you come straight to Florida after law
    13·   ·Atlantic Housing, L.L.L.P. was a -- how do I describe       13·   ·school?
    14·   ·them?                                                       14·   · · · A· · Actually I was in Florida before I went to law
    15·   · · · · · ·They were part of Concord Management and they     15·   ·school.
    16·   ·built income-restricted housing, so they were a             16·   · · · Q· · So you moved back home after law school?
    17·   ·developer.· They're the ones that were in the factoring     17·   · · · A· · No, I got in there faster than other colleges,
    18·   ·industry.                                                   18·   ·so my wife and I decided I should go back to school when
    19·   · · · Q· · None of them had anything to do with timeshares   19·   ·I was 30 years old, so...
    20·   ·or anything?                                                20·   · · · Q· · Did you ever take the Michigan Bar?
    21·   · · · A· · No.                                               21·   · · · A· · No.
    22·   · · · Q· · Timeshare related?                                22·   · · · Q· · You never had the intent of staying in
    23·   · · · A· · No.                                               23·   ·Michigan?· You were always planning to come back to
    24·   · · · Q· · We kind of glossed over this but you are a        24·   ·Florida?
    25·   ·lawyer, correct?                                            25·   · · · A· · Absolutely, too cold up there.


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                                                           Page 10                                                            Page 11
    ·1·   · · · Q· · I agree.· What is your current address?           ·1·   · · · Q· · But you are doing some work with Mitchell
    ·2·   · · · A· · Office or --                                      ·2·   ·Sussman, correct?
    ·3·   · · · Q· · Wherever you can be found.                        ·3·   · · · A· · Correct.
    ·4·   · · · A· · 941 Southeast Central Parkway, Stuart, Florida,   ·4·   · · · Q· · How did you come to know Mr. Sussman?
    ·5·   ·34994.                                                      ·5·   · · · A· · I believe I answered an ad he had with the
    ·6·   · · · Q· · Did you graduate law school 1997, 1998,           ·6·   ·Florida Bar.
    ·7·   ·somewhere around there?                                     ·7·   · · · Q· · Do you recall what the ad was seeking?
    ·8·   · · · A· · Graduated?                                        ·8·   · · · A· · Florida attorney to draft deeds, I believe.
    ·9·   · · · Q· · Yes.                                              ·9·   · · · Q· · And approximately when was that that you got in
    10·   · · · A· · April of '98.                                     10·   ·touch with Mr. Sussman?
    11·   · · · Q· · You got a license in Florida, moved to Florida,   11·   · · · A· · I'm just guessing but I'm going to say late
    12·   ·did work in structured settlements, lottery factoring and   12·   ·2016, early 2017.
    13·   ·with this low income housing developer; is that generally   13·   · · · Q· · And at that time prior to actually starting any
    14·   ·your work experience?                                       14·   ·work with Mr. Sussman, did you have any experience
    15·   · · · A· · Yeah.· I mean, I've done other stuff in between   15·   ·preparing deeds?
    16·   ·here and there helping people out, but for the most part,   16·   · · · A· · Yes.
    17·   ·yes.                                                        17·   · · · Q· · And where was it that you had work that you got
    18·   · · · Q· · And I like the way you answered that.· That       18·   ·experience working with deeds?
    19·   ·would be the bulk of your work experience even though you   19·   · · · A· · Well, I've done it on my own and I was also at
    20·   ·may have got a one-off job for someone else?                20·   ·one time a member of the Attorneys Title Insurance Fund
    21·   · · · A· · Correct.                                          21·   ·and I'm also a Florida real estate broker.
    22·   · · · Q· · What types of work are you doing now?· And you    22·   · · · Q· · When you got in touch with Mr. Sussman in late
    23·   ·can tell me it's the same as what you've already            23·   ·2016 or early 2017, had you had any dealings with
    24·   ·described.                                                  24·   ·timeshares prior to that?
    25·   · · · A· · The same.                                         25·   · · · A· · Other than just personal knowledge, no.
                                                           Page 12                                                            Page 13
    ·1·   · · · Q· · And your personal knowledge, was it beyond sort   ·1·   · · · Q· · When you think back to that time and the fact
    ·2·   ·of a lay person's knowledge or was it generalized?          ·2·   ·that you were seeing commercials, as you say, were those
    ·3·   · · · A· · Generalized, maybe a little bit above the lay     ·3·   ·commercials for Timeshare Exit Team?
    ·4·   ·person.                                                     ·4·   · · · A· · I see them all the time now so I'm not sure.
    ·5·   · · · Q· · Have you ever been a timeshare owner?             ·5·   ·It could have been.· I don't know.
    ·6·   · · · A· · No.                                               ·6·   · · · Q· · I ask because it seems to be a relatively new
    ·7·   · · · Q· · Other than the work that you do with Mr.          ·7·   ·phenomenon that these companies are on TV, but you don't
    ·8·   ·Sussman, have you had any other dealings with timeshare     ·8·   ·have any recollections as you sit here today?
    ·9·   ·companies or timeshare interests?                           ·9·   · · · A· · It could have been any one of those companies,
    10·   · · · A· · To my knowledge, no.                              10·   ·so, yeah, I don't remember.
    11·   · · · Q· · When you got in touch with Mr. Sussman in late    11·   · · · Q· · Did you all talk about, you all meaning you and
    12·   ·2016 or early 2017, was that a telephone conversation?      12·   ·Mr. Sussman, talk about from whom these deeds would be
    13·   ·Was it an e-mail?· How did that come about?                 13·   ·transferred and to whom they would be going, or was it
    14·   · · · A· · I believe it was telephone.                       14·   ·just generally I need you to prepare quitclaim deeds in
    15·   · · · Q· · What do you recall that the two of you            15·   ·Florida for timesharers?
    16·   ·discussed?                                                  16·   · · · A· · They would provide me with the information and
    17·   · · · A· · Drafting Florida quitclaim deeds.                 17·   ·I would prepare a quitclaim deed.
    18·   · · · Q· · Did he tell you anything more specific about      18·   · · · Q· · And I'm talking before -- when you first talked
    19·   ·the types of deeds involved?                                19·   ·to Mr. Sussman, before you guys actually had a contract,
    20·   · · · A· · Just that they were timeshare customers looking   20·   ·was there any more specific discussion about who would be
    21·   ·to leave their timeshare, and by then I was seeing all      21·   ·signing the deeds and to whom the deeds would be going?
    22·   ·the commercials and everything so...                        22·   · · · A· · Discussion about it?
    23·   · · · Q· · Did Mr. Sussman tell you that these would be      23·   · · · Q· · Or comments or statements or information
    24·   ·for Timeshare Exit Team?                                    24·   ·provided, any type of conversation.
    25·   · · · A· · He never mentioned any specific company.          25·   · · · A· · Not that I recall.· I just presumed they were


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                                                           Page 14                                                            Page 15
    ·1·   ·being signed by the people looking to leave their           ·1·   · · · A· · Correct.
    ·2·   ·timeshare.                                                  ·2·   · · · Q· · Again, when you were setting up this
    ·3·   · · · Q· · Did you have any sense at that time as to where   ·3·   ·relationship, were you given any further information
    ·4·   ·these timeshare interests would be transferred; for         ·4·   ·about the circumstances surrounding the transfers that
    ·5·   ·example, to other people; to individuals purchasing the     ·5·   ·were going to be made through these deeds that you were
    ·6·   ·time share interest; Any sense at all as to the grantees    ·6·   ·going to be drafting?
    ·7·   ·for these deeds?                                            ·7·   · · · A· · Other than people no longer could afford them
    ·8·   · · · A· · Back to the developer or the timeshare owner.     ·8·   ·or didn't want them, no.
    ·9·   · · · Q· · Was there something specific that led you to      ·9·   · · · Q· · When you and Mr. Sussman were setting up this
    10·   ·believe these were going to go -- these deeds were going    10·   ·relationship, was there any discussion about the
    11·   ·to transfer the interest back to the timeshare              11·   ·consideration that would be paid or given in exchange for
    12·   ·developers?                                                 12·   ·these deeds?
    13·   · · · A· · Yeah, viewing the prior deed and the              13·   · · · A· · Yes.
    14·   ·information they provided me.                               14·   · · · Q· · What was -- what was the details of that
    15·   · · · Q· · So Mr. Sussman had provided you an example of     15·   ·conversation, that discussion?
    16·   ·the type of deed that he was looking for?                   16·   · · · A· · $50 a quitclaim deed.
    17·   · · · A· · No, they provided me the prior deed.              17·   · · · Q· · That's what you would be paid, correct?
    18·   · · · Q· · So the original deed from the timeshare           18·   · · · A· · Yeah.
    19·   ·owners -- excuse me, from the timeshare developer to the    19·   · · · Q· · Was there any discussion about the
    20·   ·timeshare owner is what you're referring to?                20·   ·consideration between the parties to the deed?
    21·   · · · A· · Correct.                                          21·   · · · A· · No.
    22·   · · · Q· · And I'm assuming that that came later in the      22·   · · · Q· · Any other discussions or information that you
    23·   ·process, that that wasn't something that you and Mr.        23·   ·recall being exchanged when you and Mr. Sussman were
    24·   ·Sussman talked about when you guys were first setting up    24·   ·setting up this relationship?
    25·   ·this relationship?                                          25·   · · · A· · Regarding?
                                                           Page 16                                                            Page 17
    ·1·   · · · Q· · Anything that has to do with this relationship    ·1·   · · · Q· · It's my understanding that you asserted
    ·2·   ·with Mr. Sussman?                                           ·2·   ·attorney-client privilege in response to some of the
    ·3·   · · · A· · No, not really.                                   ·3·   ·requests in that subpoena; is that right?
    ·4·   · · · · · ·MR. NEW:· Sorry, I don't have copies of           ·4·   · · · A· · That's correct.
    ·5·   · · · everything.· I don't think you're going to need it.    ·5·   · · · · · ·MR. COWARD:· It looks like work product.
    ·6·   · · · · · ·MR. COWARD:· It's always good as we go forward    ·6·   · · · · · ·MR. NEW:· And work product, okay.
    ·7·   · · · to have a copies for the other person, but I get it,   ·7·   ·BY MR. NEW:
    ·8·   · · · maybe you didn't expect me to be here.                 ·8·   · · · Q· · On the attorney-client privilege, whom is the
    ·9·   · · · · · ·(Marked for identification as Plaintiff's         ·9·   ·client on whose behalf you're asserting the privilege?
    10·   · · · · · · Exhibit No. 1.)                                  10·   · · · A· · I would say Mitchell Sussman and his clients.
    11·   ·BY MR. NEW:                                                 11·   · · · Q· · So your client is Mitchell Sussman and Mitchell
    12·   · · · Q· · Mr. Klohn, I've handed you Exhibit No. 1 and      12·   ·Sussman's clients?
    13·   ·Exhibit No. 2.· Exhibit No. 1, is that a subpoena asking    13·   · · · A· · Correct.
    14·   ·for documents that was served on you in this case?          14·   · · · Q· · What was the nature of any legal advice that
    15·   · · · A· · Correct.                                          15·   ·you provided to Mr. Sussman?
    16·   · · · Q· · Exhibit No. 2, is that your response to the       16·   · · · A· · Legal advice?
    17·   ·subpoena?                                                   17·   · · · Q· · Just the nature of it.· I'm not asking you what
    18·   · · · A· · It appears so, yes.                               18·   ·you told him, but if he was your client and that
    19·   · · · Q· · And attached to that response is a Local          19·   ·presupposes you were providing legal advice to him, what
    20·   ·Counsel Agreement and then several of what appear to be     20·   ·was the nature of the legal advice you were providing?
    21·   ·invoices you submitted to Mr. Sussman; is that correct?     21·   · · · A· · I would say the construction of the quitclaim
    22·   · · · A· · Correct.                                          22·   ·deeds and for his clients.
    23·   · · · Q· · Were any of other documents provided by you in    23·   · · · Q· · I was going to ask you that as a separate
    24·   ·response to that subpoena?                                  24·   ·question.· So to the extent you were providing services
    25·   · · · A· · I don't think so, no.                             25·   ·to Sussman's clients, what was the nature of those legal


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    ·1·   ·services?                                                   ·1·   ·to be a work-product exemption or privilege?
    ·2·   · · · · · ·MR. COWARD:· Objection, asked and answered, but   ·2·   · · · A· · Sure.
    ·3·   · · · you can go ahead.                                      ·3·   · · · · · ·MR. COWARD:· Form objection, predicate.
    ·4·   · · · · · ·THE WITNESS:· To Mr. Sussman for the quitclaim    ·4·   · · · · · ·MR. NEW:· You can answer.
    ·5·   · · · deeds and for his clients.                             ·5·   · · · · · ·THE WITNESS:· Sure.
    ·6·   ·BY MR. NEW:                                                 ·6·   ·BY MR. NEW:
    ·7·   · · · Q· · Were there any other topics or issues on which    ·7·   · · · Q· · What litigation did you anticipate for which
    ·8·   ·you were providing legal advice to Mr. Sussman or to his    ·8·   ·you are asserting a work-product exemption of
    ·9·   ·clients?                                                    ·9·   ·privilege?
    10·   · · · A· · Not that I recall.                                10·   · · · A· · As an attorney, you always anticipate something
    11·   · · · Q· · What types of communications did you have with    11·   ·may happen and someone may want to litigate.· Nothing
    12·   ·Mr. Sussman that you were claiming are privileged; for      12·   ·specific in mind.
    13·   ·example, are you referring to e-mails or letters or some    13·   · · · Q· · What types of documents are you withholding
    14·   ·other type of communications?                               14·   ·based on the work-product exemption or privilege?
    15·   · · · A· · They would be e-mails and telephonic.             15·   · · · A· · I would say they would be almost exclusively
    16·   · · · Q· · And did you ever have direct communications       16·   ·e-mails and drafts of deeds.
    17·   ·with any of Mr. Sussman's clients?                          17·   · · · Q· · This Local Counsel Agreement, is this the
    18·   · · · A· · No.                                               18·   ·written agreement that governed the working relationship
    19·   · · · Q· · Were you also asserting that any of the           19·   ·between you and Mr. Sussman?
    20·   ·documents requested in that subpoena were exempt from       20·   · · · A· · It is.
    21·   ·discovery pursuant to the work-product exemption or         21·   · · · Q· · Were there any prior agreements or subsequent
    22·   ·doctrine?                                                   22·   ·agreements?
    23·   · · · A· · Yes.                                              23·   · · · A· · None.
    24·   · · · Q· · As a lawyer, is it your understanding that        24·   · · · Q· · As far as you know, did all of the work that
    25·   ·anticipation must exist for litigation in order for there   25·   ·you did with or for Mr. Sussman get done pursuant to this
                                                           Page 20                                                            Page 21
    ·1·   ·agreement?                                                  ·1·   · · · A· · He provided me a prototype, which I reviewed
    ·2·   · · · A· · Yes.                                              ·2·   ·and made sure it was compliant.
    ·3·   · · · Q· · Did Mr. Sussman give you any information as to    ·3·   · · · Q· · Do you know who prepared the prototype?
    ·4·   ·why he needed or wanted to hire a local attorney to do      ·4·   · · · A· · I do not.
    ·5·   ·this work?                                                  ·5·   · · · Q· · And when you say you reviewed it, do you recall
    ·6·   · · · A· · I think he said that he checked with the          ·6·   ·making any changes to it?
    ·7·   ·Florida Bar and they said he needed to hire a Florida       ·7·   · · · A· · Geez, I'm sure I did but I don't remember
    ·8·   ·attorney to draft the deeds for him.                        ·8·   ·making any real substantive changes.
    ·9·   · · · Q· · Did you ever independently verify that?           ·9·   · · · Q· · So this Local Counsel Agreement, it says that
    10·   · · · A· · No.                                               10·   ·if I'm reading this correctly, your office will
    11·   · · · Q· · In your experience in working with deeds, as      11·   ·accommodate administrative tasks, incidental to drafts or
    12·   ·you testified to earlier and as a lawyer in the State of    12·   ·* making phone calls, correspondences with clients, which
    13·   ·Florida, do you know that to be true or untrue?             13·   ·I assume is Sussman's client; is that your understanding
    14·   · · · A· · I mean, someone can always go on Home Depot or    14·   ·of how this agreement works?
    15·   ·something and get a package and do their own quitclaim      15·   · · · A· · No, it was just with Sussman's people.
    16·   ·deed or go on Legal Zoom and hire an attorney on Legal      16·   · · · Q· · Okay.· So Sussman's or his office would have
    17·   ·Zoom to do a quitclaim deed or -- it's kind of a gray       17·   ·been responsible forgetting in touch with his clients?
    18·   ·area, but I think to be safe and above board it's           18·   · · · A· · Correct.
    19·   ·probably best to have an attorney draft them, but I don't   19·   · · · Q· · Were you going to be responsible for actually
    20·   ·think you necessarily need to have, quote, unquote, an      20·   ·recording executed deeds?
    21·   ·attorney draft them if you have one done that's approved    21·   · · · A· · Nope.
    22·   ·by the Supreme Court of Florida.                            22·   · · · Q· · Who did that work, if you know?
    23·   · · · Q· · When you embarked on preparing these deeds for    23·   · · · A· · I have no idea.
    24·   ·or in connection with Mr. Sussman, did he give you any      24·   · · · Q· · Now this Local Counsel Agreement says that
    25·   ·examples to follow?                                         25·   ·Mitchell Sussman's office, the firm, would do that under


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    ·1·   ·1(e).                                                       ·1·   · · · A· · No.
    ·2·   · · · A· · I would presume so.                               ·2·   · · · Q· · Now in responding to that subpoena that I've
    ·3·   · · · Q· · And I think you told us earlier that you were     ·3·   ·given you, Exhibit No. 1, and your response to Exhibit
    ·4·   ·to be paid $50 per deed that you prepared and that's here   ·4·   ·No. 2, did you have any communications with Mr. Sussman
    ·5·   ·in this Local Counsel Agreement, correct?                   ·5·   ·about responding to that?
    ·6·   · · · A· · Yes, I believe it is.· I haven't looked at it     ·6·   · · · A· · Yeah, we talked briefly.
    ·7·   ·in a while.                                                 ·7·   · · · Q· · Did he give you any instructions on how to
    ·8·   · · · Q· · In terms of you being paid, I know you've         ·8·   ·respond?
    ·9·   ·produced several invoices.· Has Mr. Sussman or his law      ·9·   · · · · · ·MR. COWARD:· So that would appear to be covered
    10·   ·firm always paid you for the work you've invoiced?          10·   · · · by the work-product privilege in this case, and as
    11·   · · · A· · Yes.                                              11·   · · · Mr. Sussman's lawyer, I would ask the witness not to
    12·   · · · Q· · And you're still working with them today?         12·   · · · answer that question under the basis of the
    13·   · · · A· · Yes.                                              13·   · · · work-product privilege.
    14·   · · · Q· · Is it still $50 per deed?                         14·   · · · · · ·THE WITNESS:· So I'll invoke the privilege.
    15·   · · · A· · Yes.                                              15·   ·BY MR. NEW:
    16·   · · · Q· · So this Local Counsel Agreement also includes a   16·   · · · Q· · As you sit here today, do you consider Mr.
    17·   ·confidentiality provision, and I'm not asking you what      17·   ·Coward to be your attorney for purposes of representing
    18·   ·the information is but my question to you is has Mr.        18·   ·you at this deposition?
    19·   ·Sussman ever provided information to you that you           19·   · · · A· · No.
    20·   ·consider to be confidential information subject to that     20·   · · · Q· · What did you and Mr. Coward talk about prior to
    21·   ·provision?                                                  21·   ·starting this deposition?
    22·   · · · A· · Not that I recall other than his client's         22·   · · · A· · He was pretty much just inquiring about me
    23·   ·information.                                                23·   ·because I guess he's kind of new to the case, so I just
    24·   · · · Q· · No proprietary processes or secrets or anything   24·   ·kind of brought him up to speed.
    25·   ·like that?                                                  25·   · · · Q· · In connection with your work with Mr. Sussman
                                                           Page 24                                                            Page 25
    ·1·   ·or just as a human being?                                   ·1·   ·interest from the current timeshare owner back to the
    ·2·   · · · A· · Both in general, just, you know, he's asking me   ·2·   ·timeshare developer, correct?
    ·3·   ·what I did and so I just, you know, told him.               ·3·   · · · A· · I don't know if it would get that far, I just
    ·4·   · · · Q· · You said it was your anniversary weekend. I       ·4·   ·prepared the deed, but, yes.
    ·5·   ·didn't know if you were talking about that or fishing or    ·5·   · · · Q· · That's the deed you're preparing?
    ·6·   ·what.                                                       ·6·   · · · A· · Correct.
    ·7·   · · · A· · Some things remain private.                       ·7·   · · · Q· · You don't know if it gets signed or if it gets
    ·8·   · · · Q· · Once you had this Local Counsel Agreement with    ·8·   ·filed --
    ·9·   ·Mr. Sussman, and I'm not going to you ask about every       ·9·   · · · A· · No idea.
    10·   ·single time you did a deed, but let's talk about the        10·   · · · Q· · -- you just need to prepare it?
    11·   ·first time you did a deed; how did that assignment or       11·   · · · A· · Correct.
    12·   ·that task come to you?                                      12·   · · · Q· · And based solely on the e-mail you just
    13·   · · · A· · Via e-mail.                                       13·   ·described, you know that's your job?
    14·   · · · Q· · Who e-mailed you?                                 14·   · · · A· · Yes.
    15·   · · · A· · Boy --                                            15·   · · · Q· · So at that point you had already received the
    16·   · · · Q· · Let's start with, was it Mr. Sussman or was it    16·   ·prototype deed from Mr. Sussman and reviewed it?
    17·   ·somebody else?                                              17·   · · · A· · Yes.
    18·   · · · A· · No, someone in his office.                        18·   · · · Q· · So you already had the deed you were going to
    19·   · · · Q· · And what was the nature of the e-mail or what     19·   ·use, you had already had that in place?· You knew what it
    20·   ·was the substance of the e-mail as you recall?              20·   ·was going to say absent the name of the grantor and
    21·   · · · A· · Hello, Mr. Klohn, please draft a quitclaim        21·   ·grantee?
    22·   ·deed.· Please find attached a private deed.· Our client     22·   · · · A· · Yes, and all the other deed specifics you need
    23·   ·is so and so and their address is below.· That's it.        23·   ·to change.
    24·   · · · Q· · And from that e-mail correspondence, you knew     24·   · · · Q· · All right, and we don't have to exhaustively
    25·   ·to prepare a quitclaim deed to transfer the timeshare       25·   ·cover every one of them but what else changes in these


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    ·1·   ·deeds besides the grantor, the grantee and the property     ·1·   ·names --
    ·2·   ·location description?                                       ·2·   · · · A· · Correct.
    ·3·   · · · A· · The book page, recording number on the prior      ·3·   · · · Q· · -- the property description, et cetera?
    ·4·   ·deed, the timeshare unit, the week unit, book and page of   ·4·   · · · · · ·What do you do once you have completed that
    ·5·   ·the timeshare documents, parcel identification number if    ·5·   ·process?· You've prepared the deed, what do you do?
    ·6·   ·any available.                                              ·6·   · · · A· · I send it back.
    ·7·   · · · Q· · All things that describe the real estate          ·7·   · · · Q· · To the same person that e-mailed you
    ·8·   ·interest being transferred?                                 ·8·   ·originally?
    ·9·   · · · A· · Correct.                                          ·9·   · · · A· · Correct.
    10·   · · · Q· · So we have the name of the person giving, the     10·   · · · Q· · Which would be somebody you consider to be in
    11·   ·name of the person getting it and the property              11·   ·Sussman's office?
    12·   ·description; those are the things that change, correct?     12·   · · · A· · Yes.
    13·   · · · A· · Correct.                                          13·   · · · Q· · And do you have a record somewhere of that
    14·   · · · Q· · Now this e-mail and others like it, are these     14·   ·e-mail that you sent back to Sussman's office?
    15·   ·e-mails that you still have in your possession              15·   · · · A· · I'm sure I do.
    16·   ·somewhere?                                                  16·   · · · Q· · Other than the deed conveying the time share
    17·   · · · A· · I should have most of them, yeah.                 17·   ·interest from the timeshare developer to Mr. Sussman's
    18·   · · · Q· · Once this e-mail comes in to your e-mail inbox,   18·   ·client, do you receive any other documents in order to be
    19·   ·are you personally going and preparing the deeds or are     19·   ·able to do your function as it relates to these deeds?
    20·   ·you sending it to someone else in your office to do         20·   · · · A· · You mean besides the prior deed?
    21·   ·that?                                                       21·   · · · Q· · Correct.
    22·   · · · A· · No, I'm a lone ranger, I do it.                   22·   · · · A· · Only saying if it was a husband and wife and
    23·   · · · Q· · So you personally open up a word document, or     23·   ·one of them has passed away, I also received the death
    24·   ·whatever the other company is that offers word              24·   ·certificate.
    25·   ·processing, you input the data, is that right, the          25·   · · · Q· · Maybe divorce papers or something like that;
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    ·1·   ·would that even be pertinent?                               ·1·   · · · A· · It appears you forgot to send me the death
    ·2·   · · · A· · It would be.                                      ·2·   ·certificate, please send it.
    ·3·   · · · Q· · So you get the original deed or the prior deed    ·3·   · · · Q· · You do that by e-mail?
    ·4·   ·and then any death or marriage or divorce-related           ·4·   · · · A· · Yes.
    ·5·   ·paperwork?                                                  ·5·   · · · Q· · To whoever e-mailed you in the first place?
    ·6·   · · · A· · Yeah, or if another deed, say three people        ·6·   · · · A· · Correct.
    ·7·   ·owned it and one of them dropped out prior to them          ·7·   · · · Q· · The individuals that in your mind were working
    ·8·   ·sending it to me.                                           ·8·   ·in Sussman's office or with him that were sending you
    ·9·   · · · Q· · Other than those categories of documents, any     ·9·   ·these deeds to be done, did they have sort of the all --
    10·   ·other documents you would be receiving from Sussman or      10·   ·all have the same e-mail domain?
    11·   ·his office?                                                 11·   · · · A· · I really only dealt with one person, except in
    12·   · · · A· · No.                                               12·   ·the very beginning it was a couple of e-mails from
    13·   · · · Q· · And as a general rule, those documents would be   13·   ·another guy but I don't recall the domains.
    14·   ·attached to the initial e-mail you would receive from Mr.   14·   · · · Q· · Who is your primary person that you deal
    15·   ·Sussman's office?                                           15·   ·with?
    16·   · · · A· · That's correct.· And if they weren't and I        16·   · · · A· · Her name is Yanni.
    17·   ·needed them, I would request them.                          17·   · · · Q· · I remember you said there was another guy that
    18·   · · · Q· · Were there occasions where you did not receive    18·   ·you dealt with at the very beginning.
    19·   ·adequate documentation to be able to prepare the deed?      19·   · · · A· · Yeah, I don't remember his name.
    20·   · · · A· · A couple of times but it was rare.· Usually       20·   · · · Q· · Was that a limited nature or did you have a lot
    21·   ·death certificates.                                         21·   ·of dealing with that guy?
    22·   · · · Q· · And when you needed documents, for example, as    22·   · · · A· · It was limited.
    23·   ·you described, you need a death certificate, whatever the   23·   · · · Q· · What is your understanding, if any, about what
    24·   ·case may be, how do you go about communicating that to      24·   ·Ms. Yanni Buckley does for Mr. Sussman?
    25·   ·Mr. Sussman's office?                                       25·   · · · A· · I mean, I would just be presuming that she's


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    ·1·   ·admin. assistance.                                          ·1·   · · · A· · I think, and I'm not sure so I'm just stating
    ·2·   · · · Q· · Other than the e-mails she sends you with         ·2·   ·what I know or think I may know, but I think he's
    ·3·   ·information to prepare a deed and any questions you might   ·3·   ·e-mailed me once to revise a deed that had some technical
    ·4·   ·send her back, which we discussed, do you have any other    ·4·   ·glitches.
    ·5·   ·dealings with her?                                          ·5·   · · · Q· · Do you remember what the nature of those
    ·6·   · · · A· · None.                                             ·6·   ·technical glitches were?
    ·7·   · · · Q· · Have their been any occasions where you had to    ·7·   · · · A· · I -- I don't know, the week unit or something
    ·8·   ·deal with Mr. Sussman after this relationship was already   ·8·   ·may have been wrong or something like that.
    ·9·   ·set up and other than whatever conversations or             ·9·   · · · Q· · ·Something related to the property
    10·   ·communications you had relating to your subpoena?           10·   ·description?
    11·   · · · A· · Can you repeat that?                              11·   · · · A· · Correct.· I think, I'm not sure.
    12·   · · · Q· · Sure, and just to be clear on the front end,      12·   · · · Q· · For example, whether it was Jeff Murphy or
    13·   ·I'm not asking you about the subpoena again.                13·   ·somebody else, if someone you'd never dealt with
    14·   · · · · · ·Have you had any situations where you had to      14·   ·contacted you from Mr. Sussman's office, how would you
    15·   ·communicate directly with Mr. Sussman after you all had     15·   ·know that they were in any way associated with or
    16·   ·the Local Counsel Agreement and you had everything set      16·   ·affiliated with his office?
    17·   ·up?                                                         17·   · · · A· · Um, they would cc him, so if I had any reason
    18·   · · · A· · No, I don't think so.                             18·   ·to think otherwise, I could just call him or e-mail
    19·   · · · Q· · I'm going to ask you several people's names,      19·   ·him.
    20·   ·and if you don't know them, you don't know them.            20·   · · · Q· · And Mr. Sussman's e-mail address, as I
    21·   · · · · · ·Have you ever had any dealings with Jose Alex     21·   ·understand it, was raven t-v, maybe he had some numbers
    22·   ·Gomez?                                                      22·   ·at the end of it, at.aol; is that your understanding?
    23·   · · · A· · You know, that might have been the guy who sent   23·   · · · A· · Yeah.
    24·   ·me the first couple e-mails.· I'm not sure though.          24·   · · · Q· · Do you know of anyone else used that type of
    25·   · · · Q· · Okay, what about Jeff Murphy?                     25·   ·nomenclature maybe with a different number after the
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    ·1·   ·raven t-v, so maybe raven t-v two or raven t-v eight?       ·1·   · · · Q· · James Sibilla?
    ·2·   · · · A· · Do I?                                             ·2·   · · · A· · It doesn't sound familiar, no.
    ·3·   · · · Q· · Yes.                                              ·3·   · · · Q· · Miriam Goldstein?
    ·4·   · · · A· · No.                                               ·4·   · · · A· · It doesn't sound familiar, no.
    ·5·   · · · Q· · Have you ever had any dealing with Fawn           ·5·   · · · Q· · Terri Durst?
    ·6·   ·Weaver?                                                     ·6·   · · · A· · It doesn't sound familiar, no.
    ·7·   · · · A· · It doesn't sound familiar, no.                    ·7·   · · · Q· · Noreen Beresh?
    ·8·   · · · Q· · Have you ever had any dealings with Tom           ·8·   · · · A· · It doesn't sound familiar, no.
    ·9·   ·Stanford?                                                   ·9·   · · · Q· · Jeffrey Corcoran (phonetic)?
    10·   · · · A· · It doesn't sound familiar, no.                    10·   · · · A· · Doesn't sound familiar, no.
    11·   · · · Q· · Have you ever have any dealings with Steve        11·   · · · Q· · As I understand it, there were some other
    12·   ·Peyton?                                                     12·   ·lawyers who did the same or similar things that you did
    13·   · · · A· · It doesn't sound familiar, no.                    13·   ·with Mr. Sussman.· Have you ever heard of Summer
    14·   · · · Q· · Have you ever had any dealings with Evan Laird    14·   ·Williams?
    15·   ·(phonetic)?                                                 15·   · · · A· · I have not.
    16·   · · · A· · It doesn't sound familiar, no.                    16·   · · · Q· · Gerardo Ortega?
    17·   · · · Q· · Have you ever had any dealings with Leslie        17·   · · · A· · I have not.
    18·   ·Benjamin?                                                   18·   · · · Q· · Daniel Stern?
    19·   · · · A· · It doesn't sound familiar, no.                    19·   · · · A· · I have not.
    20·   · · · Q· · Raul Martinez?                                    20·   · · · Q· · Robert Kerr?
    21·   · · · A· · It doesn't sound familiar, no.                    21·   · · · A· · I have not.· Sounds like they're taking my
    22·   · · · Q· · Andrea Estrada?                                   22·   ·business.
    23·   · · · A· · It doesn't sound familiar, no.                    23·   · · · Q· · You have to get out there and hustle.
    24·   · · · Q· · A.J. or Amy Underwood?                            24·   · · · · · ·All of the deeds that you prepared in
    25·   · · · A· · It doesn't sound familiar, no.                    25·   ·connection with your work with Mr. Sussman were to


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     ·1·   ·transfer a timeshare interest back to a timeshare           ·1·   · · · Q· · And you don't even know if the deeds you
     ·2·   ·developer, correct?                                         ·2·   ·drafted were ever executed?
     ·3·   · · · A· · Yes.                                              ·3·   · · · A· · Correct.
     ·4·   · · · Q· · You never prepared any deeds in connection with   ·4·   · · · Q· · You certainly don't know that they were ever
     ·5·   ·your work with Mr. Sussman transferring a timeshare         ·5·   ·recorded?
     ·6·   ·interest to an individual?                                  ·6·   · · · A· · Correct.
     ·7·   · · · A· · No.                                               ·7·   · · · Q· · It may sound like a silly question then, but
     ·8·   · · · Q· · In your work preparing these deeds, did you       ·8·   ·you never sent copies of executed and recorded deeds to
     ·9·   ·ever have any direct communications with any of the         ·9·   ·any of the timeshare developers, the grantees?
     10·   ·companies, I think you said it was only companies, but      10·   · · · A· · That's correct.
     11·   ·any of the companies where people who were the grantees     11·   · · · Q· · Have you ever come to learn from any source
     12·   ·or the recipients of these deeds?                           12·   ·whether or not these timeshare developers accept or
     13·   · · · A· · No.                                               13·   ·consent to receiving these deeds?
     14·   · · · Q· · When you were preparing these deeds, did you      14·   · · · A· · Not really.
     15·   ·ever undertake any effort to confirm or verify whether      15·   · · · Q· · You don't know, don't care?
     16·   ·the timeshare developer or the entity to whom the           16·   · · · A· · Yeah.
     17·   ·interest would be deeded was consenting to that             17·   · · · Q· · As a Florida lawyer preparing deeds, did you
     18·   ·happening?                                                  18·   ·ever do any sort of research to confirm what the
     19·   · · · A· · I did not, I just drafted deeds.                  19·   ·requirements of a valid deed would be in the State of
     20·   · · · Q· · And did you ever talk to Mr. Sussman about        20·   ·Florida?
     21·   ·that?                                                       21·   · · · A· · Not recently, but I'm sure I went through such
     22·   · · · A· · No.                                               22·   ·things when I was with Attorneys' Title Insurance Fund.
     23·   · · · Q· · And you weren't responsible for recording the     23·   · · · Q· · Generally speaking, the grantee has to consent
     24·   ·deeds, correct?                                             24·   ·or accept the deed, correct?
     25·   · · · A· · Not at all.                                       25·   · · · · · ·MR. COWARD:· Hold on, just object, incomplete
                                                            Page 36                                                            Page 37
     ·1·   · · · hypothetical but go ahead.· I'm not asking you to      ·1·   ·them.
     ·2·   · · · not answer, I'm just objecting for the record.         ·2·   · · · Q· · Once you prepared a deed and sent it to Mr.
     ·3·   ·BY MR. NEW:                                                 ·3·   ·Sussman's office, did any of those deeds ever get sent
     ·4·   · · · Q· · For a valid deed in the State of Florida to       ·4·   ·back to you for any reason?
     ·5·   ·convey real property interest, does the grantee have to     ·5·   · · · A· · You mean after recording?
     ·6·   ·consent or agree to accept that deed?                       ·6·   · · · Q· · No, just any time after you sent to Mr.
     ·7·   · · · · · ·MR. COWARD:· Hold on.· Object to the form.        ·7·   ·Sussman's office -- for example, earlier you told us --
     ·8·   · · · Incomplete hypothetical.· Go ahead.                    ·8·   · · · A· · Only if they wanted any changes to it, but they
     ·9·   · · · · · ·THE WITNESS:· They don't have to sign the         ·9·   ·wouldn't send the actual deed, they would tell me what
     10·   · · · deed.                                                  10·   ·was wrong and I would check it and fix it and send it
     11·   ·BY MR. NEW:                                                 11·   ·back.
     12·   · · · Q· · Do they have to be aware of it?                   12·   · · · Q· · It's your understanding that those types of
     13·   · · · · · ·MR. COWARD:· Object to the form.                  13·   ·communications happened prior to any deed being
     14·   · · · · · ·THE WITNESS:· I'm not sure.                       14·   ·executed?
     15·   ·BY MR. NEW:                                                 15·   · · · A· · I would hope so.
     16·   · · · Q· · Do they have to have a mutual intent for title    16·   · · · Q· · Sort of a checks and balances system, they
     17·   ·to transfer?                                                17·   ·spotted something they didn't like about the way you
     18·   · · · · · ·MR. COWARD:· Object to the form.                  18·   ·prepared it, maybe a clerical error, and they sent it
     19·   · · · · · ·THE WITNESS:· I'm not sure.                       19·   ·back?
     20·   ·BY MR. NEW:                                                 20·   · · · A· · Yeah, it's always been clerical.
     21·   · · · Q· · And did you ever ask any of those questions in    21·   · · · Q· · Other than that, any other occasions where
     22·   ·connection with the work you were doing with Mr.            22·   ·deeds came back to you after you had sent them to Mr.
     23·   ·Sussman?                                                    23·   ·Sussman's office?
     24·   · · · A· · No, because I just drafted deeds, I wasn't        24·   · · · A· · Other than those occasions, no.· Even on those
     25·   ·involved in the signing, notarization or recording of       25·   ·occasions, they wouldn't send the deed, they would just


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     ·1·   ·state what they thought was inaccurate.                     ·1·   · · · A· · Salzman (phonetic).
     ·2·   · · · Q· · Do you need a break?                              ·2·   · · · Q· · Are you able to provide any sort of estimate as
     ·3·   · · · A· · No, just stretching a little.                     ·3·   ·to the volume of deeds that you prepared in connection
     ·4·   · · · Q· · We can take a break.                              ·4·   ·with Mr. Sussman, whether it's over a monthly period or a
     ·5·   · · · A· · No, I'm good.· These old bones got to move.       ·5·   ·yearly period?
     ·6·   · · · · · ·(Marked for identification as Plaintiff's         ·6·   · · · A· · I mean, it would be a rough estimate but I can
     ·7·   · · · · · · Exhibit No. 3.)                                  ·7·   ·give you a rough monthly estimate.
     ·8·   ·BY MR. NEW:                                                 ·8·   · · · Q· · Okay.
     ·9·   · · · Q· · I'm showing you what's been marked as Exhibit     ·9·   · · · A· · Fifteen a month.
     10·   ·No. 3.                                                      10·   · · · Q· · I know in your subpoena response you produced
     11·   · · · A· · To my knowledge, those are deeds that have been   11·   ·several invoices.
     12·   ·recorded in the real property records that have your name   12·   · · · · · ·Do you recall time the period that those
     13·   ·on them as the person who prepared them.                    13·   ·invoices cover or are you able to confirm?
     14·   · · · · · ·Generally speaking, do those deeds in Exhibit     14·   · · · A· · I think they covered most, if not all, of them
     15·   ·No. 3 appear to be deeds that you prepared.                 15·   ·up to that date, up to the date where I got the
     16·   · · · A· · It appears so, yes.                               16·   ·subpoena.
     17·   · · · Q· · That's generally the form that I would use with   17·   · · · Q· · And are you comfortable that all of the
     18·   ·the deeds that you were preparing?                          18·   ·invoices are in there and that that would reflect the
     19·   · · · A· · Correct.                                          19·   ·number of deeds that you prepared?
     20·   · · · Q· · Yes?                                              20·   · · · A· · I could update it because there's definitely
     21·   · · · A· · The one looked a little funny but maybe it's      21·   ·new ones.
     22·   ·just the way it's printed up.                               22·   · · · Q· · But as of the time of your response?
     23·   · · · Q· · Which one is that that looks a little funny?      23·   · · · A· · I believe so, yes.· I mean, I may have missed
     24·   · · · A· · That one (Indicating).                            24·   ·one or two, but in general, I think that's most of them
     25·   · · · Q· · Who is the grantor?                               25·   ·if not all of them.
                                                            Page 40                                                            Page 41
     ·1·   · · · Q· · That's what I'm getting at.· You're not missing   ·1·   ·see most of them in Southeast Florida and Central
     ·2·   ·a two-year period or a whole stack of invoices that you     ·2·   ·Florida.
     ·3·   ·couldn't find or anything like that?                        ·3·   · · · Q· · Each of the deeds that you prepare recite that
     ·4·   · · · A· · No.                                               ·4·   ·some consideration is being paid by the grantee to the
     ·5·   · · · Q· · So absent maybe one or two invoices being         ·5·   ·grantor; where would you obtain that information to be
     ·6·   ·missing all, the invoices you produced in response to the   ·6·   ·included in the deed that you draft or prepare?
     ·7·   ·subpoena, that's all you did for Sussman up to that         ·7·   · · · A· · You mean do I know if it's been paid?
     ·8·   ·date?                                                       ·8·   · · · Q· · A little bit of a different question.· Where do
     ·9·   · · · A· · Yes.                                              ·9·   ·you get that information?
     10·   · · · Q· · Now since that subpoena response, you've          10·   · · · A· · They have a contract, you need to have a
     11·   ·continued to do work with Mr. Sussman?                      11·   ·consideration in it, so normally for a deed or other
     12·   · · · A· · Correct.                                          12·   ·simple contract you add a dollar or ten dollars as
     13·   · · · Q· · Is it at approximately the same volume,           13·   ·consideration.
     14·   ·approximately 15 deeds per month?                           14·   · · · Q· · So the recital that the grantee is paying the
     15·   · · · A· · I mean, that's my rough estimate.· It might be    15·   ·grantor $10 for each of these deeds, that's just a number
     16·   ·more, it might be less.· I don't know.                      16·   ·you came up with or is that a number that Mr. Sussman
     17·   · · · Q· · The deeds that you have prepared, were these      17·   ·told you to use or how did that come about?
     18·   ·all for Florida or within the State of Florida?             18·   · · · A· · Well, $10 is a common number used in deed
     19·   · · · A· · Oh, absolutely.                                   19·   ·preparation for the recital of a consideration.
     20·   · · · Q· · Are they limited to specific counties in          20·   · · · Q· · Did you, you using your knowledge that that's a
     21·   ·Florida?                                                    21·   ·common number, come up with that or did someone else tell
     22·   · · · A· · No.                                               22·   ·you to use that number?
     23·   · · · Q· · So it could be any county in Florida?             23·   · · · A· · Well, You mean like -- Sussman didn't if that's
     24·   · · · A· · Wherever the time -- usually wherever the         24·   ·what you're asking.
     25·   ·timeshare company is located.· Of course, you're going to   25·   · · · Q· · I'm just asking if anybody did.


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     ·1·   · · · A· · Other than law school and classes I've taken,     ·1·   ·Legality of what you were doing with Mr. Sussman?
     ·2·   ·they always said use a dollar or $10.                       ·2·   · · · A· · Legality of it?
     ·3·   · · · Q· · Now follow-up question.· Do you know whether or   ·3·   · · · Q· · Correct.
     ·4·   ·not the grantee with respect to these deed that you         ·4·   · · · A· · Drafting quitclaim deeds as a Florida attorney,
     ·5·   ·prepared gave any consideration?                            ·5·   ·no, I never had an issue with the legality of it.
     ·6·   · · · A· · No idea, I don't even know if they signed it.     ·6·   · · · Q· · For that reason it's safe to assume you never
     ·7·   · · · Q· · Do you know whether or not for a deed in          ·7·   ·made any reports to any Bar associations that anything
     ·8·   ·Florida to validly transfer a real property interest        ·8·   ·might be being done improperly in connection with these
     ·9·   ·there has to be consideration given?                        ·9·   ·deeds?
     10·   · · · · · ·MR. COWARD:· I'm going to object to the form      10·   · · · A· · Have I made any reports, no, not at all.
     11·   · · · but go ahead.                                          11·   · · · Q· · Similarly, you never made any complaints or
     12·   · · · · · ·THE WITNESS:· I wouldn't -- I would say there     12·   ·reports to any governmental entities?
     13·   · · · should always be a recital consideration.· I mean,     13·   · · · A· · No.
     14·   · · · this day and age, who knows if it's valid or not.      14·   · · · Q· · You never reported anything to any of the
     15·   ·BY MR. NEW:                                                 15·   ·transferors, the grantors, or the transferees, the
     16·   · · · Q· · Beyond a recital, should there will be actual     16·   ·grantees, as it relates to any of these deeds?
     17·   ·consideration?                                              17·   · · · A· · None.
     18·   · · · · · ·Whatever that consideration might be, should      18·   · · · Q· · I think you've told us your relationship with
     19·   ·consideration be given?                                     19·   ·Mr. Sussman or his law firm is ongoing, correct?
     20·   · · · A· · There should be something for consideration,      20·   · · · A· · Correct.
     21·   ·sure.                                                       21·   · · · Q· · When was last time that you did -- prepared a
     22·   · · · Q· · If there's not, is the deed valid to your         22·   ·quitclaim deed in connection with your work with Mr.
     23·   ·knowledge?                                                  23·   ·Sussman?
     24·   · · · A· · That, I don't know.                               24·   · · · A· · What's today, Monday, the 5th?· Maybe Wednesday
     25·   · · · Q· · Did you ever have any concerns about the          25·   ·or Thursday.· It might have even been Friday but I don't
                                                            Page 44                                                            Page 45
     ·1·   ·think so.                                                   ·1·   ·prepare, right, and here's a list of the people for whom
     ·2·   · · · Q· · Other than the e-mails between you and            ·2·   ·you're supposed to prepare them?
     ·3·   ·individuals that you associate with Sussman's office and    ·3·   · · · · · ·MR. COWARD:· Object to form.
     ·4·   ·the actual deeds that you've prepared, do you have any      ·4·   · · · · · ·THE WITNESS:· That would be the reason.
     ·5·   ·other record of the grantors or grantees for whom you've    ·5·   ·BY MR. NEW:
     ·6·   ·prepared deeds?                                             ·6·   · · · Q· · Not here's a master list of everyone for whom
     ·7·   · · · A· · I do not.                                         ·7·   ·you've prepared a deed?
     ·8·   · · · Q· · Like a master spreadsheet or master list or       ·8·   · · · A· · No.
     ·9·   ·anything like that?                                         ·9·   · · · Q· · Once you invoiced Mr. Sussman or his law firm,
     10·   · · · A· · Not to my knowledge.· I may have gotten one in    10·   ·how did you get paid?
     11·   ·the early days but I don't think so.· It wouldn't have      11·   · · · A· · Check.
     12·   ·been a master one, it would have just -- if I did get       12·   · · · Q· · Paper check?
     13·   ·one, it would have been just a small spreadsheet.           13·   · · · A· · Yeah.
     14·   · · · Q· · And who would have prepared that?                 14·   · · · Q· · Dropped in the mail?
     15·   · · · A· · That one guy that I first dealt with.             15·   · · · A· · Correct, FedEx usually because I send my FedEx
     16·   · · · Q· · So would that be a list of individuals for whom   16·   ·envelope, FedEx label.· I like to get paid right away.
     17·   ·you were supposed to be preparing deeds for as opposed to   17·   · · · Q· · Doesn't everyone?
     18·   ·here's a list of everyone you have already prepared a       18·   · · · · · ·How frequently would you invoice?· Was there a
     19·   ·deed for?                                                   19·   ·set...
     20·   · · · A· · No, it wouldn't have been the latter if I did     20·   · · · A· · In general, weekly.· Depends on how many deeds
     21·   ·get one.                                                    21·   ·I did though.· Usually if it's less than ten, I wait
     22·   · · · Q· · I guess what I'm getting at is if you did         22·   ·until the next week, the following week.
     23·   ·receive any sort of list, like you just suggested you       23·   · · · Q· · And usually how long did it take you to get a
     24·   ·might have, that would have been a list simply for          24·   ·check back from FedEx?
     25·   ·convenience because you were being sent numerous deeds to   25·   · · · A· · Two, three days.


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     ·1·   · · · Q· · How would you send the invoices, was that via     ·1·   · · · Q· · Did anybody at Mr. Sussman's office ever
     ·2·   ·e-mail or by --                                             ·2·   ·express any complaints to you other than, for example,
     ·3·   · · · A· · Yes.                                              ·3·   ·you mentioned some technical tweaks that needed to be
     ·4·   · · · Q· · -- mail?                                          ·4·   ·made to the property descriptions?
     ·5·   · · · A· · Yes, e-mail.                                      ·5·   · · · A· · No.
     ·6·   · · · Q· · So you would include a PDF, I guess, of the       ·6·   · · · Q· · Have you received any requests from law
     ·7·   ·FedEx label?                                                ·7·   ·enforcement relating to any work that you performed in
     ·8·   · · · A· · Correct.                                          ·8·   ·connection with Mr. Sussman?
     ·9·   · · · Q· · Just to be clear so we have a clear record, the   ·9·   · · · A· · No.
     10·   ·deeds that you prepared and sent to Mr. Sussman or his      10·   · · · Q· · Have you ever received a request from any other
     11·   ·office, you have not produced those because you're          11·   ·governmental bodies or agencies related to this work?
     12·   ·claiming that those are protected by work product?          12·   · · · A· · No.
     13·   · · · A· · Correct.                                          13·   · · · Q· · Have any of the timeshare developers ever told
     14·   · · · Q· · In terms of communications that you would have    14·   ·you that they don't accept the work that you're doing for
     15·   ·had directly with Mr. Sussman, those communications all     15·   ·Mr. Sussman or anything to that effect?
     16·   ·would have been at the outset or the creation of your       16·   · · · A· · Just one.
     17·   ·relationship or whenever you talked to him about            17·   · · · Q· · Berkley?
     18·   ·responding to the subpoena; is that correct?                18·   · · · A· · Yeah.
     19·   · · · A· · Yes.                                              19·   · · · Q· · When you received this letter written by my
     20·   · · · Q· · You never communicated with any of Mr.            20·   ·firm on behalf of Berkley, what response, if any, did you
     21·   ·Sussman's clients directly?                                 21·   ·make?
     22·   · · · A· · The people, no, none.                             22·   · · · A· · I believe I called them and left a message but
     23·   · · · Q· · Did you ever receive any complaints from any of   23·   ·we never communicated.
     24·   ·Mr. Sussman's customers or clients?                         24·   · · · Q· · You never heard back?
     25·   · · · A· · No.                                               25·   · · · A· · No.
                                                            Page 48                                                            Page 49
     ·1·   · · · Q· · Would you agree that this letter, at least as     ·1·   · · · · · ·MR. NEW:· Let's take a quick break.· I'm about
     ·2·   ·to the Berkley Group, Inc., is communicating to you that    ·2·   · · · done.
     ·3·   ·Berkley does not authorize, accept or consent to the        ·3·   · · · · · ·THE VIDEOGRAPHER:· Off the record at 11:29.
     ·4·   ·deeds that you're preparing?                                ·4·   · · · · · ·(A short break was taken.)
     ·5·   · · · A· · I would think so, yeah.                           ·5·   · · · · · ·THE VIDEOGRAPHER:· Back on the record at
     ·6·   · · · Q· · Have you continued to prepare deeds conveying     ·6·   · · · 11:33.
     ·7·   ·interest to the Berkley Group, Inc., after this letter?     ·7·   ·BY MR. NEW:
     ·8·   · · · A· · I think just after I got that there may have      ·8·   · · · Q· · Did Mr. Sussman or anyone in his office ever
     ·9·   ·been one or two, but I haven't seen any request for         ·9·   ·communicate to you that these timeshare developers
     10·   ·Berkley deals.                                              10·   ·consented to or accepted the deeds you were preparing?
     11·   · · · Q· · In those one or two, did you go ahead and         11·   · · · A· · No.
     12·   ·prepare the deed notwithstanding the letter?                12·   · · · Q· · Did they ever imply these timeshare developers
     13·   · · · A· · Yeah, I may have.                                 13·   ·consented to the deeds you were preparing?
     14·   · · · Q· · You're not sure if you did or didn't?             14·   · · · A· · Not that I'm aware of.
     15·   · · · A· · I'm not sure of the timing of it.                 15·   · · · Q· · I'm assuming the answer is no but have you read
     16·   · · · Q· · Have you ever come to be aware from any source    16·   ·a transcript of Mr. Sussman's deposition?
     17·   ·that any of these timeshare developers file notices of      17·   · · · A· · No.
     18·   ·non-acceptance once the deeds you've prepared have been     18·   · · · Q· · He testified that the developers are not aware
     19·   ·executed and recorded in the real property records?         19·   ·that these deeds are prepared and executed and recorded
     20·   · · · A· · Notice of non -- no, I've never heard of          20·   ·as a general principal; is that concerning to you?
     21·   ·those.                                                      21·   · · · · · ·MR. COWARD:· Form objection.
     22·   · · · Q· · A Notice of Non-Acceptance where the timeshare    22·   · · · · · ·THE WITNESS:· I mean, I'm not on that end of
     23·   ·developer is saying I understand that this deed has been    23·   · · · business, I just draft deeds, so...
     24·   ·filed but I don't accept it?                                24·   ·BY MR. NEW:
     25·   · · · A· · No, I have not.                                   25·   · · · Q· · Now that you've been told by Berkley that they


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     ·1·   ·don't accept the deeds and what I just told you, and I'm    ·1·   ·June 25th, 2018 to Jeffrey Backman at the law firm
     ·2·   ·happy to give you a copy of his deposition if you want      ·2·   ·representing the plaintiffs in this case.· It's got your
     ·3·   ·where he testified that the developers don't know, do you   ·3·   ·signature.· I'm assuming that you prepared this letter
     ·4·   ·intend to continue preparing these deeds?                   ·4·   ·and mailed it?
     ·5·   · · · · · ·MR. COWARD:· Object to the form.                  ·5·   · · · A· · I believe I e-mailed it.
     ·6·   · · · · · ·THE WITNESS:· I'm going to have to check with     ·6·   · · · Q· · Okay.· All right.· And you sent that to the
     ·7·   · · · my attorney and see.                                   ·7·   ·plaintiff's law firm in response to the subpoena for
     ·8·   ·BY MR. NEW:                                                 ·8·   ·documents that they -- that was marked as Exhibit 1 to
     ·9·   · · · Q· · Have you ever made any effort to confirm which    ·9·   ·the deposition?
     10·   ·of the deeds you've prepared have actually been executed    10·   · · · A· · That's correct.
     11·   ·and recorded?                                               11·   · · · Q· · Okay.· And in your letter you attached a list
     12·   · · · A· · I have not.                                       12·   ·of all the documents that they requested, and one of the
     13·   · · · Q· · So as far as you know, it could have been zero    13·   ·documents that you produce as Exhibit A was the Local
     14·   ·of them or it could have been all of them?                  14·   ·Counsel Agreement that Mr. New was asking you about,
     15·   · · · A· · Correct.                                          15·   ·right?
     16·   · · · · · ·THE WITNESS:· Excuse the cracking.                16·   · · · A· · Correct.
     17·   · · · · · ·MR. NEW:· I'll pass the witness.                  17·   · · · Q· · And by way of that document, you agreed to
     18·   · · · · · · · · · · ·CROSS EXAMINATION                       18·   ·serve as an independent contractor attorney to Mr.
     19·   ·BY MR. COWARD:                                              19·   ·Sussman and his law firm for the services that are
     20·   · · · Q· · Mr. Klohn, good morning.· This is Clay Coward,    20·   ·discussed in that document and that you've discussed here
     21·   ·I represent Mr. Sussman and his law firm and I have just    21·   ·today for Mr. Sussman's clients, right?
     22·   ·a couple follow-up questions.· Let me see that stack of     22·   · · · A· · Correct.
     23·   ·documents that's marked as Exhibit 2 that you have in       23·   · · · Q· · And in your written response to the subpoena
     24·   ·your left hand here.                                        24·   ·for documents, one of the questions that was requested
     25·   · · · · · ·And the first page of this is a letter dated      25·   ·was, number three, all deeds you prepared or recorded at
                                                            Page 52                                                            Page 53
     ·1·   ·Sussman's behest that pertained to timeshare clients; is    ·1·   ·deeds on behalf of, and one of the basis of your
     ·2·   ·that your handwriting there?                                ·2·   ·objections to producing those documents would be
     ·3·   · · · A· · That's my chicken scratch, yes.                   ·3·   ·attorney-client privilege, true?
     ·4·   · · · Q· · And it says, objection, attorney-client and/or    ·4·   · · · · · ·MR. NEW:· Objection leading.
     ·5·   ·work-product privilege, right?                              ·5·   · · · · · ·THE WITNESS:· Yes.
     ·6·   · · · A· · Correct.                                          ·6·   · · · · · ·MR. COWARD:· Okay, Mr. Klohn, thank you.
     ·7·   · · · Q· · And because you, as you said at the beginning     ·7·   · · · That's all I have.
     ·8·   ·of this deposition, you considered that Mr. Sussman's       ·8·   · · · · · ·THE VIDEOGRAPHER:· This concludes the
     ·9·   ·clients, who you were doing work on behalf of, to have an   ·9·   · · · deposition.
     10·   ·attorney-client relationship with you in regard to the      10·   · · · · · ·MR. NEW:· Hang on real quick, I have follow-up
     11·   ·work that you were doing any way as well, correct?          11·   · · · question.
     12·   · · · A· · Correct.                                          12·   · · · · · · · · · ·REDIRECT EXAMINATION
     13·   · · · Q· · Okay, and so I think there was a question         13·   ·BY MR. NEW:
     14·   ·towards the end of Mr. New's questioning about the basis    14·   · · · Q· · The deeds that you prepared for Mr. Sussman's
     15·   ·for your not providing the deeds for actual clients in      15·   ·clients, you never sent those to Mr. Sussman's clients,
     16·   ·response to the subpoena and you put work-product           16·   ·did you?
     17·   ·privilege, but you had also objected in your response to    17·   · · · A· · No.
     18·   ·the documents on the basis of the attorney-client           18·   · · · Q· · And you never communicated anything to those
     19·   ·privilege and as you had said earlier in the deposition     19·   ·clients about the deeds?
     20·   ·here today?                                                 20·   · · · A· · Correct, never.
     21·   · · · · · ·MR. NEW:· Objection, leading.                     21·   · · · · · ·MR. NEW:· Pass the witness.
     22·   · · · · · ·THE WITNESS:· Yes.                                22·   · · · · · ·MR. COWARD:· No, no thanks.
     23·   ·BY MR. COWARD:                                              23·   · · · · · ·THE VIDEOGRAPHER:· That concludes the
     24·   · · · Q· · Do you feel that you have an attorney-client      24·   · · · deposition of James Klohn.· We're now off the video
     25·   ·relationship with these individuals that you prepared       25·   · · · record at 11:40.


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     ·1·   · · · · · ·MR. COWARD:· You have the right to read or      ·1·   ·STATE OF FLORIDA· · )
                                                                      · ·   · · · · · · · · · · ·:· SS
     ·2·   · · · waive.
                                                                      ·2·   ·COUNTY OF MARTIN· )
     ·3·   · · · · · ·THE WITNESS:· Waive.                            ·3
     ·4·   · · · · · ·THE COURT REPORTER:· Would you like to order?   ·4·   · · · · · · · · · · CERTIFICATE OF OATH
     ·5·   · · · · · ·MR. NEW:· Yeah, I will order.                   ·5·   · · · · · ·I, ROBIN P. WALKER, a Certified Reporter,
     ·6·   · · · · · ·MR. COWARD:· I'll let you know if I want a      ·6·   ·Notary Public of the State of Florida certify that James
                                                                      ·7·   ·Klohn personally appeared before me on the 5th day of
     ·7·   · · · copy.
                                                                      ·8·   ·November, 2018.
     ·8·   · · · · · ·STIPULATED and AGREED by and between counsel    ·9·   · · · · · · · · · · WITNESS my hand and official seal this
     ·9·   ·for the respective parties and the witness that the       10·   ·13th day of November, 2018.
     10·   ·signature of the witness to the deposition and the        11
     11·   ·reading of same be waived.                                12
                                                                      13·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·_____________________________
     12
                                                                      · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·ROBIN P. WALKER, CP
     13·   · · · · · ·(The deposition concluded at 11:40 a.m.)
                                                                      14·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·My Commission Expires:
     14                                                               · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·May 9th, 2020
     15                                                               15·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·FF# 982111
     16                                                               16
                                                                      17
     17
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     18
                                                                      · ·   ·   ·   ·   ·   ·   ·   ·   ·   · · · ·         · · · · · · Personally Known______
     19                                                               19·   ·   ·   ·   ·   ·   ·   ·   ·   · · · ·         · Or Produced Identification__X___
     20                                                               · ·   ·   ·   ·   ·   ·   ·   ·   ·   Type of         Identification Produced - driver's
     21                                                               20·   ·   ·   ·   ·   ·   ·   ·   ·   · · · ·         · · · · · · · · · · · · · license
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     25                                                               25

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     · · · · · · · · · · · · ·:· SS
     ·2· ·COUNTY OF MARTIN· )
     ·3
     ·4· · · · · · · · · · · · · CERTIFICATE
     ·5· · · · · · ·I, ROBIN P. WALKER, a Shorthand Reporter and
     ·6· ·Notary Public of the State of Florida at Large, certify
     ·7· ·that the foregoing deposition of James Klohn was
     ·8· ·stenographically reported by me and is a true and
     ·9· ·accurate transcription of said deposition of James Klohn.
     10· · · · · · ·I certify further I am neither attorney nor
     11· ·counsel for, nor related to, nor employed by any of the
     12· ·parties to the action in which the deposition is taken
     13· ·and, further, that I am not a relative or an employee of
     14· ·any attorney or counsel employed in this case, nor am I
     15· ·financially interested in the outcome of this action.
     16· · · · · · · · · ·DATED this 13th day of November, 2018.
     17
     18
     19
     20
     21
     22· · · · · · · · ·_____________________________
     · · · · · · · · · · · ·ROBIN P. WALKER, CP
     23
     24
     25



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